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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                )
 UNITED STATES OF AMERICA                       )
                                                )
       v.                                       )        Criminal No. 16-CR-10343-ADB
                                                )
 MICHAEL L. BABICH et al.,                      )        Oral Argument Nov. 5, 2018
                                                )
       Defendants.
                                                )

         DEFENDANTS’ RENEWED MOTION FOR A BILL OF PARTICULARS

       Pursuant to Federal Rule of Criminal Procedure 7(f), Defendants hereby respectfully move

for an order requiring the government to furnish Defendants a bill of particulars that provides the

following information:

       Alleged Honest Services Fraud Scheme

1.     The forms of bribes or kickbacks that the government intends to allege at trial, other than

the forms specifically identified in SSI paragraph 29.

2.     The speaker program events that the government intends to allege at trial lacked any

legitimate marketing or educational component (i.e., were shams).

3.     The “office staff” whose salaries the government intends to allege at trial that Insys paid as

a bribe or kickback, other than those identified in SSI paragraphs 56-58.

4.     The Insys employees whom the government intends to allege at trial performed

“administrative tasks” as a bribe or kickback, and the nature of the administrative tasks that the

government claims were bribes or kickbacks.

5.     The manner and means by which the purported co-conspirator healthcare practitioners

allegedly deceived their patients.

6.     The legal source or sources of the fiduciary duty that the government intends to argue was

breached by the alleged co-conspirator healthcare practitioners.

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7.     The specific patients, if any, that the government intends to allege at trial were tangibly

harmed by the alleged honest services fraud scheme.

       Alleged Insurance Fraud Scheme

1.     Any allegedly false, misleading, or otherwise fraudulent communications between Insys

and insurance companies or pharmacy benefit managers that the government intends to allege at

trial, other than the 154 telephone calls listed in its disclosure of August 21, 2018.

       Alleged Illicit Distribution Scheme

1.     The acts in violation of the Controlled Substances Act that the government intends to allege

at trial, including the specific illicit Subsys prescriptions, if any, that the government intends to

allege at trial are attributable to the charged conduct.

2.     The specific patients, if any, the government intends to allege at trial were tangibly harmed

as a result of being prescribed Subsys.

3.     The manner and means by which Defendants or their alleged co-conspirators allegedly

sought to impair, impede, or obstruct the Drug Enforcement Administration, other than the

allegations in SSI paragraphs 72 and 73.

       Venue Allegations

1.     The acts in Massachusetts that the government intends to allege at trial as being in

furtherance of the alleged RICO conspiracy (i.e., the acts in this District that allegedly sought to

advance the RICO conspiracy, as opposed to legitimate business conduct or unrelated conduct).




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Dated: October 23, 2018                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I, Kosta S. Stojilkovic, hereby certify that a true and correct copy of this document filed
through the ECF system will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
participants on October 23, 2018.

                                              /s/ Kosta S. Stojilkovic
                                              Kosta S. Stojilkovic
                                              Counsel for Dr. John Kapoor



                             LOCAL RULE 7.1 CERTIFICATION

      I, Kosta S. Stojilkovic, hereby certify that, prior to filing this motion, Defendants sent the
government a letter requesting the bill of particulars that is the subject of this motion, and the
government refused Defendants’ request.

                                              /s/ Kosta S. Stojilkovic
                                              Kosta S. Stojilkovic
                                              Counsel for Dr. John Kapoor




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